                            Case 4:22-cr-00372 Document 2 Filed on 07/28/22 in TXSD Page 1 of 1
 USA-74-24B
 (Rev. 05/01)
                                                                      CRIMINAL DOCKET
HOUSTON DIVISION                                                           SEALED                            No. 4:22-cr-372
                                                                       United States Courts
USAO Number:                     2021R03054                          Southern District of Texas
Magistrate Number:                                                            FILED
CRIMINAL INDICTMENT                                          Filed         July 28, 2022          Judge:        Lake
                                                                Nathan Ochsner, Clerk ofATTORNEYS:
                                                                                        Court
UNITED STATES of AMERICA
                                                                                Jennifer B. Lowery, USA                (713) 567-9000
 vs.
                                                                                Thomas H. Carter III, AUSA              (713) 567-9000

                                                                                                                       Appt'd   Private
 CALEB JORDAN MCCRELESS (Cts. 1-6)                                           Sealed
 CHRISTOPHER LUKE MCGINNIS (Ct. 1)
                                                              Public and unofficial staff access
                                                                   to this instrument are
                                                                 prohibited by court order




                     Ct. 1: Conspiracy [18. U.S.C. § 1349]

 CHARGE: Cts. 2-6: Wire Fraud [18 U.S.C. § 1343]
  (TOTAL)
(COUNTS:)
  (    6    )




PENALTY: Cts. 1-6: Up to 20 years incarceration, up to a $250,000 fine, up to 3 years Supervised release, and a $100 special assessment

                      NOTICE OF FORFEITURE: [18 U.S.C. § 981(a)(1)(C); 28 U.S.C. § 2461(c)]




           In Jail                                                               NAME & ADDRESS
                                                                                 of Surety:
           On Bond

           No Arrest

                                                                     PROCEEDINGS:
